ILND 450 (Rev.Case:    1:16-cv-05827
              04/29/2016)                     Document
                          Judgment in a Civil Action     #: 374 Filed: 09/27/21 Page 1 of 2 PageID #:3901

                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ILLINOIS

 LCCS GROUP,

 Plaintiff,
                                                                  No. 16-cv-05827
 v.                                                               Judge John F. Kness

 A.N. WEBBER LOGISTICS, INC., et al.,

 Defendants.

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                          in favor of Plaintiff LCCS GROUP
                          and against Defendant GC ELECTRONICS
                          in the amount of $3,006.60 for Plaintiff’s damages through January 13, 2017 plus
                          0.1516% of all response costs incurred by Plaintiff at the LCCS Site after January 13,
                          2017;

                          in favor of Plaintiff LCCS GROUP
                          and against Defendant JOHNSTON & CHAPMAN INC.
                          in the amount of $75.36 for Plaintiff’s damages through January 13, 2017 plus 0.0038%
                          of all response costs incurred by Plaintiff at the LCCS Site after January 13, 2017;

                          in favor of Plaintiff LCCS GROUP
                          and against Defendant SI-TECH INDUSTRIES, INC.
                          in the amount of $64,376.31 for Plaintiff’s damages through January 13, 2017 plus
                          3.2460% of all response costs incurred by Plaintiff at the LCCS Site after January 13,
                          2017; and

                          in favor of Plaintiff LCCS GROUP
                          and against Defendant VANDERHYDEN SEPTIC SERVICE CO.
                          in the amount of $4,080.50 for Plaintiff’s damages through January 13, 2017 plus
                          0.2060% of all response costs incurred by Plaintiff at the LCCS Site after January 13,
                          2017

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiffs shall recover costs from Defendant.
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This action was (check one):

   tried by a jury with Judge         presiding, and the jury has rendered a verdict.
   tried by Judge         without a jury and the above decision was reached.
   decided by Judge John F. Kness on a motion [362] for default judgment.


Date: September 27, 2021
                                                     JOHN F. KNESS
                                                     United States District Judge




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